     Case 2:18-cv-00038-VAP-JC Document 97 Filed 03/28/22 Page 1 of 3 Page ID #:1761




 1 ATTORNEYS FOR PLAINTIFF:
   Stephanie R. Tatar (237792)
 2 stephanie@thetatarlawfirm.com
 3 Tatar Law Firm, APC
   3500 West Olive Avenue, Suite 300
 4 Burbank, California 91505
 5 Tel: (323) 744-1146
   Fax: (888) 778-5695
 6
 7 Larry P. Smith (admitted pro hac vice) (IL Bar Number 6217162)
   lsmith@smithmarco.com
 8 SmithMarco, P.C.
 9 55 West Monroe St., Suite 1200
   Chicago, IL 60603
10 Tel: (312) 324-3532
11 Fax: (888) 418-1277
12 Stacy M. Bardo (admitted pro hac vice) (IL Bar Number 6271913)
13 stacy@bardolawpc.com
   Bardo Law, P.C.
14 22 West Washington St., Suite 1500
15 Chicago, IL 60602
   Tel: (312) 219-6980
16 Fax: (312) 219-6981
17
                       UNITED STATES DISTRICT COURT
18                   CENTRAL DISTRICT OF CALIFORNIA
19     MICHAEL PRESTON and                     Case No. 2:18-cv-00038-VAP(JCx)
       PENELOPE TURGEON, individually          Assigned to: Hon. Judge Virginia A.
20
       and on behalf of all others similarly   Phillips
21     situated,
                           Plaintiffs,         STIPULATION FOR ORDER
22
                                               Setting April 4, 2022 Hearing re:
23           v.                                Plaintiffs’ Motion to Transfer Venue
24                                             & Defendant’s Motion to Dismiss for
       AMERICAN HONDA MOTOR CO.,               Lack of Prosecution Via Zoom
25     INC.,
26                 Defendant.                  Date filed in N.D. Ill.: May 11, 2017

27
                                                                                       2
28     STIPULATION RE: SETTING APRIL 4, 2022 HEARING ON PLAINTIFFS’ MOTION TO
           TRANSFER VENUE AND DEFENDANT’S MOTION TO DISMISS VIA ZOOM
     Case 2:18-cv-00038-VAP-JC Document 97 Filed 03/28/22 Page 2 of 3 Page ID #:1762




 1          This stipulation is entered into by the parties, by and through their respective

 2 counsel of record, with reference to the following facts and recitals:
 3       1.      On March 7, 2022, Plaintiffs filed their Motion to Transfer and

 4 Defendant filed its Motion to Dismiss;
 5      2.     The parties’ respective opposition papers were timely filed on March

 6 21, 2022 and the parties’ replies will be filed on March 28, 2022.
 7       3.    Both matters were set for hearing on April 4, 2022 at 2:00 p.m. Pacific

 8 Time.
 9          4.    Plaintiffs state that lead counsel for Plaintiffs reside and practice in

10 the State of Illinois and brought suit on behalf of a proposed Illinois-class of
11 consumers. Plaintiffs further state the matter was transferred here based upon
12 AHM’s request and over Plaintiffs’ objection.
13     5.    Given that this Honorable Court has an option to set hearing matters

14 via Zoom, Plaintiffs’ counsel respectfully request that they be excused from an in-
15 person appearance. Plaintiffs’ retained local counsel is currently in trial at the
16 Superior Court of Los Angeles County.
17       6.    AHM does not object to the Plaintiffs’ request.
18          7.    A proposed order setting the April 4, 2022 hearing via Zoom is filed
19 concurrently.
20
21 Dated: March 28, 2022                            Respectfully submitted,
22
                                                    By: /s/ Stacy M. Bardo
23                                                  Stacy M. Bardo (admitted pro hac
24                                                  vice) (IL Bar Number 6271913)
                                                    Bardo Law, P.C.
25                                                  22 West Washington St., Suite 1500
26                                                  Chicago, IL 60602
                                                    Tel: (312) 219-6980
27
                                                                                               3
28     STIPULATION RE: SETTING APRIL 4, 2022 HEARING ON PLAINTIFFS’ MOTION TO
           TRANSFER VENUE AND DEFENDANT’S MOTION TO DISMISS VIA ZOOM
     Case 2:18-cv-00038-VAP-JC Document 97 Filed 03/28/22 Page 3 of 3 Page ID #:1763




 1                                             E-mail: stacy@bardolawpc.com

 2                                             Stephanie R. Tatar (237792)
 3                                             Tatar Law Firm, APC
                                               3500 West Olive Avenue, Suite 300
 4                                             Burbank, California 91505
 5                                             Tel: (323) 744-1146
                                               E-mail:
 6                                             stephanie@thetatarlawfirm.com
 7
                                               Larry P. Smith (admitted pro hac
 8                                             vice) (IL Bar Number 6217162)
 9                                             SmithMarco, P.C.
                                               55 West Monroe St., Suite 1200
10                                             Chicago, IL 60603
11                                             Tel: (312) 324-3532
                                               E-Mail: lsmith@smithmarco.com
12
13                                             Attorneys for Plaintiffs

14 Dated: March 28, 2022                       Respectfully submitted,
15
                                               By: /s/ Darlene Cho
16                                             Michael L. Mallow
17                                             Mark D. Campbell
                                               Darlene Cho
18                                             Shook, Hardy & Bacon, LLP
19                                             2049 Century Park East, Suite 3000
                                               Los Angeles, CA 90067
20                                             mmallow@shb.com
21                                             mdcampbell@shb.com
                                               dcho@shb.com
22
23                                             Attorneys for Defendant
24
25
26
27
                                                                                    4
28     STIPULATION RE: SETTING APRIL 4, 2022 HEARING ON PLAINTIFFS’ MOTION TO
           TRANSFER VENUE AND DEFENDANT’S MOTION TO DISMISS VIA ZOOM
